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           ORDERED in the Southern District of Florida on December 7, 2018.




                                                             A. Jay Cristol, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          In re:                                                  Case No. 16-10389-BKC-AJC

          LIZA HAZAN a/k/a ELIZABETH HAZAN,                       Chapter 11

                      Debtor.
          __________________________________________/

                   ORDER GRANTING MOTION FOR EXTENSION OF TIME TO SUBMIT
                                    PROPOSED ORDERS

                   THIS MATTER came before the Court upon the Motion for Extension of Time to File

          Proposed Findings of Facts and Conclusions of Law filed by NLG, LLC, its manager Chris

          Kosachuk and its counsel, Juan Ramirez, Jr. on November 14, 2018 (ECF 764). Movants seek

          additional time within which to submit a proposed order on Debtor’s Amended Expedited Motion

          for Contempt, Sanctions, Damages and Punitive Damages for consideration. No ex-parte order

          was submitted for entry extending the deadline and the matter was not set for hearing. On

          November 26, 2018, movants submitted their proposed order on the motion for contempt.
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       The Court finding cause to grant the extension, the movants’ submission on November 26,

2018 will be considered in ruling on Debtor’s motion for contempt. It is

       ORDERED AND ADJUDGED that the Motion for Extension of Time to File Proposed

Findings of Facts and Conclusions of Law (ECF 764) is GRANTED and the movants’ submission

is deemed timely and will be considered by the Court in ruling on Debtor’s Amended Expedited

Motion for Contempt, Sanctions, Damages and Punitive Damages.

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Copies to:

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Attorney Astrid Gabbe is directed to serve a copy of this Order on all interested parties and to file
a certificate of service with the Court.
